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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                                 PILED
                                                                                           APR 2 9 2019
  PFIZER INC., WARNER-LAMBERT                                                            oistRicr
  COMPANY LLC, PF PRISM C.V., PFIZER                                                   WHEELING, count-ft
                                                                                                 WV 26003
  MANUFACTURING HOLDINGS LLC, and
  PFIZER PFE IRELAND
  PHARMACEUTICALS HOLDING 1 B.V.

                          Plaintiffs,                    CA No       ) iq

           V.

  MYLAN PHARMACEUTICALS INC. and
  MYLAN INC.
               Defendants.


                                           COMPLAINT

       Pfizer Inc., Warner-Lambert Company LLC, PF PRISM C.V., Pfizer Manufacturing

Holdings LLC, and Pfizer PFE Ireland Pharmaceuticals Holding 1 B.V. (collectively "Pfizer") file

this Complaint for patent infringement against Mylan Pharmaceuticals Inc. and Mylan Inc.

(collectively, "Mylan"), and by their attorneys, hereby allege as follows:

      1.        This is an action for patent infringement under the patent laws of the United States,

Title 35, United States Code, and for a declaratory judgment of patent infringement under 28

U.S.C. §§ 2201 and 2202 and the patent laws of the United States, Title 35, United States Code,

that arises out of Mylan's submission of an Abbreviated New Drug Applications ("ANDA") to

the U.S. Food and Drug Administration ("FDA") seeking approval to commercially manufacture,

use, offer for sale, sell, and/or import generic versions of IBRANCE® (Palbociclib) capsules, 75

mg, 100 mg, and 125 mg, prior to the expiration of U.S. Patent No. 6,936,612 ("the '612 patent");


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U.S. Patent No. 7,208,489 ("the '489 patent"); and U.S. Patent No. 7,456,168 ("the '168 patent").

These three patents are referred to collectively herein as "the patents-in-suit."

              MyIan Pharmaceuticals Inc. notified Pfizer by letter dated March 18, 2019 ("MyIan

Notice Letter") that it had submitted to the FDA ANDA No. 213141 ("MyIan's ANDA"), seeking

approval from the FDA to engage in the commercial manufacture, use and/or sale of generic

Palbociclib capsules, 75mg, 100 mg, and 125 mg ("Mylan's ANDA Product") prior to the

expiration of the patents-in-suit.

                                             PARTIES

              Plaintiff Pfizer Inc. is a corporation organized and existing under the laws of the

State of Delaware and having a place of business at 235 East 42nd Street, New York, New York

10017. Pfizer Inc. is the holder of New Drug Application ("NDA") No. 207103 for the

manufacture and sale of palbociclib tablets, 75 mg, 100 mg and 125 mg, which has been approved

by the FDA.

              Plaintiff Warner-Lambert Company LLC is a limited liability company organized

and existing under the laws of the State of Delaware, and having a place of business at 235 East

42nd Street, New York, New York 10017.

               Plaintiff PF PRISM C.V. is a limited partnership (commanditaire vennootschap)

organized under the laws of the Netherlands, having its registered seat in Rotterdam, the

Netherlands, that for all purposes is represented by and acting through its general partner Pfizer

Manufacturing Holdings LLC, a limited liability company organized under the laws of the State

of Delaware, and having its address at 235 East 42nd Street, New York, New York 10017.


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               Plaintiff Pfizer PFE Ireland Pharmaceuticals Holding 1 B.V. is a private limited

liability company (besloten vennooischap) organized under the laws of the Netherlands, having

its registered seat in Rotterdam, the Netherlands, having its business address at Rivium Westlaan

142, 2909 LD, CapeIle aan den IJssel, the Netherlands.

               Upon information and belief, defendant Mylan Inc. is a corporation organized and

existing under the laws of the State of Pennsylvania with its principal place of business at

1000 Mylan Blvd., Canonsburg, Pennsylvania 15317. Upon information and belief, Mylan Inc.

is in the business of, among other things, manufacturing and selling generic versions of branded

pharmaceutical drugs through various operating subsidiaries, including Mylan Pharmaceuticals

Inc.

               Upon information and belief, defendant Mylan Pharmaceuticals Inc. is a

corporation organized and existing under the laws of the State of West Virginia with its

principal place of business at 781 Chestnut Ridge Road, Morgantown, West Virginia 26505.

Upon information and belief, Mylan Pharmaceuticals Inc. is in the business of, among other

things, manufacturing and selling generic versions of branded pharmaceutical products for the

U.S. market.

               Upon information and belief, Mylan Pharmaceuticals Inc. is a wholly owned

subsidiary of Mylan Inc. Mylan Pharmaceuticals Inc. and Mylan Inc. are collectively referred to

herein as "Mylan."

               Upon information and belief, Mylan Inc. and Mylan Pharmaceuticals Inc. acted in

concert to prepare and submit Mylan's ANDA to the FDA.


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              Upon information and belief, following any FDA approval of Mylan's ANDA,

Mylan Inc. and Mylan Pharmaceutical Inc. will act in concert to distribute and sell MyIan's

ANDA Product throughout the United States, including within West Virginia.

                                        JURISDICTION

              Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331, 1338(a), and

2201 and 2202.

              Mylan Pharmaceuticals Inc. is subject to personal jurisdiction in West Virginia

because, among other things, it has purposely availed itself of the benefits and protections of

West Virginia's laws such that it should reasonably anticipate being haled into court here. Mylan

Pharmaceuticals Inc. is a corporation organized and existing under the laws of the State of West

Virginia, is qualified to do business in West Virginia, and has appointed a registered agent for

service of process in West Virginia. It therefore has consented to general jurisdiction in West

Virginia. Upon information and belief, Mylan Pharmaceuticals Inc. develops, manufactures,

imports, markets, offers to sell, and/or sells generic drugs throughout the United States, including

in the State of West Virginia and therefore transacts business within the State of West Virginia

related to Pfizer's claims, and/or has engaged in systematic and continuous business contacts

within the State of West Virginia.

              Mylan Inc. is subject to personal jurisdiction in West Virginia because, among

other things, Mylan Inc., itself and through its wholly-owned subsidiary Mylan Pharmaceuticals

Inc., has purposefully availed itself of the benefits and protections of West Virginia's laws such

that it should reasonably anticipate being haled into court here. Upon information and belief,


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Mylan Inc., itself and through its subsidiary Mylan Pharmaceuticals Inc., develops, manufactures,

imports, markets, offers to sell, and/or sells generic drugs throughout the United States, including

in the State of West Virginia and therefore transacts business within the State of West Virginia,

and/or has engaged in systematic and continuous business contacts within the State of West

Virginia. In addition, Mylan Inc. is subject to personal jurisdiction in West Virginia because,

upon information and belief, it controls and dominates Mylan Pharmaceuticals Inc. and therefore

the activities of Mylan Pharmaceuticals Inc. in this jurisdiction are attributed to Mylan Inc.

              Upon information and belief, if Mylan's ANDA is approved, Mylan will directly

or indirectly manufacture, market, sell, and/or distribute Mylan's ANDA Product within the

United States, including in West Virginia, consistently with Mylan's practices for the marketing

and distribution of other generic pharmaceutical products. Upon information and belief, Mylan

regularly does business in West Virginia, and its practices with other generic pharmaceutical

products have involved placing those products into the stream of commerce for distribution

throughout the United States, including in West Virginia. Upon information and belief, Mylan's

generic pharmaceutical products are used and/or consumed within and throughout the United

States, including in West Virginia. Upon information and belief, Mylan's ANDA Product will be

prescribed by physicians practicing in West Virginia, dispensed by pharmacies located within

West Virginia, and used by patients in West Virginia. Each of these activities would have a

substantial effect within West Virginia and would constitute infringement of Pfizer's patents in

the event that Mylan's ANDA Product is approved before the patents expire.

              Upon information and belief, Mylan derives substantial revenue from generic


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pharmaceutical products that are used and/or consumed within West Virginia, and which are

manufactured by MyIan and/or for which MyIan Pharmaceuticals Inc. or MyIan Inc. is the named

applicant on approved ANDAs. Upon information and belief, various products for which MyIan

Pharmaceuticals Inc. or MyIan Inc. is the named applicant on approved ANDAs are available at

retail pharmacies in West Virginia.

                     COUNT I - INFRINGEMENT OF THE '612 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-16 as if fully set forth

herein.

              The inventors named on the '612 patent are Mark Barvian, Richard J. Booth, John

Quin, III, Joseph T. Repine, Derek J. Sheehan, Peter L. Toogood, Scott N. Vanderwel, and

Hairong Zhou.

              The '612 patent, entitled "2-(Pyridin-2-ylamino)-pyrido[2,3-d]pyrimidin-7-ones"

(attached as Exhibit A), was duly and legally issued on August 30, 2005.

               Pfizer is the owner and assignee of the '612 patent.

              Claim 1 of the '612 patent recites "[a] compound which is 6-Acety1-8-cyclopenty1-

5-methyl-2-(5-piperazin-1-yl-pyridin-2-ylamino)-8H-pyrido[2,3-d]pyrimidin-7-one."

              Claim 2 of the '612 patent recites "A pharmaceutical composition comprising a

therapeutically effective amount of the compound according to claim 1 and a pharmaceutical

carrier therefor."

              IBRANCE® is covered by claims 1 and 2 of the '612 patent, and the '612 patent

has been listed in connection with IBRANCE® in the FDA's Orange Book.


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              In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '612 patent.

              In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,

Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '612 patent. On information and belief, Mylan

submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '612 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

              Mylan's ANDA Product and the use of Mylan's ANDA Product are covered by

claims 1 and 2 of the '612 patent.

              In Mylan's Notice Letter, Mylan did not contest the infringement of claim 1 or 2

of the '612 patent on any basis other than the alleged invalidity of those claims.

               Mylan's submission of Mylan's ANDA for the purpose of obtaining approval to

engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Mylan's

ANDA Product before the expiration of the '612 patent was an act of infringement of the '612

patent under 35 U.S.C. § 271(e)(2)(A).

              On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately


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and imminently upon approval of its ANDA.

              The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would infringe claims 1 and 2 of the '612 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would infringe claims 1 and 2 of the '612 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '612 patent when Mylan's ANDA is approved, and plans and intends to, and

will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '612 patent and specific intent to infringe that patent.

              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '612 patent, that

Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On

information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'612 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '612 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan's ANDA prior to the

expiration of the '612 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of


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the '612 patent; active inducement of infringement of the '612 patent; and contribution to the

infringement by others of the '612 patent.

              On information and belief, Mylan has acted with full knowledge of the '612 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'612 patent; active inducement of infringement of the '612 patent; and/or contribution to the

infringement by others of the '612 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '612

patent.

              Unless Mylan is enjoined from infringing the '612 patent, actively inducing

infringement of the '612 patent, and contributing to the infringement by others of the '612 patent,

Pfizer will suffer irreparable injury. Pfizer has no adequate remedy at law.

                         COUNT II- DECLARATORY JUDGMENT
                        OF INFRINGEMENT OF THE '612 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-38 as if fully set forth

herein.

              The Court may declare the rights and legal relations of the parties pursuant to

28 U.S.C. §§ 2201 and 2202 because there is a case of actual controversy between Pfizer on the

one hand and Mylan on the other regarding Mylan's infringement, active inducement of

infringement, and contribution to the infringement by others of the '612 patent, and/or validity of

the '612 patent.

              Claim 1 of the '612 patent recites "[a] compound which is 6-Acety1-8-cyclopenty1-

5-methyl-2-(5-piperazin-l-yl-pyridin-2-ylamino)-8H-pyrido[2,3-d]pyrimidin-7-one."

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              Claim 2 of the '612 patent recites "A pharmaceutical composition comprising a

therapeutically effective amount of the compound according to claim 1 and a pharmaceutical

carrier therefor."

               In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '612 patent.

               In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,

Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '612 patent. On information and belief, Mylan

submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '612 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

               Mylan's ANDA Product and the use of Mylan's ANDA Product are covered by

claims 1 and 2 of the '612 patent.

               In Mylan's Notice Letter, Mylan did not contest the infringement of claim 1 or 2

of the '612 patent on any basis other than the alleged invalidity of those claims.

               On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately

and imminently upon approval of its ANDA.


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      48.     The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would infringe claims 1 and 2 of the '612 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would infringe claims 1 and 2 of the '612 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '612 patent when Mylan's ANDA is approved, and plans and intends to, and

will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '612 patent and specific intent to infringe that patent.

              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '612 patent, that

Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On

information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'612 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '612 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan's ANDA prior to the

expiration of the '612 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of

the '612 patent; active inducement of infringement of the '612 patent; and contribution to the


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infringement by others of the '612 patent.

              On information and belief, MyIan has acted with full knowledge of the '612 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'612 patent; active inducement of infringement of the '612 patent; and/or contribution to the

infringement by others of the '612 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '612

patent.

              The Court should declare that the commercial manufacture, use, sale, offer for sale

or importation of Mylan's ANDA Product with its proposed labeling, or any other Mylan drug

product that is covered by or whose use is covered by the '612 patent, will infringe, induce the

infringement of, and contribute to the infringement by others of the '612 patent, and that the

claims of the '612 patent are not invalid.

                  COUNT III - INFRINGEMENT OF THE '489 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-56 as if fully set forth

herein.

              The inventors named on the '489 patent are Mark Barvian, Richard J. Booth, John

Quin, III, Joseph T. Repine, Derek J. Sheehan, Peter L. Toogood, Scott N. Vanderwel, and

Hairong Zhou.

              The '489 patent, entitled "2-(pyridin-2-ylamino)-pyrido [2,3-d]pyrimidin-7-ones"

(attached as Exhibit B), was duly and legally issued on April 24, 2007.

              Pfizer is the owner and assignee of the '489 patent.


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              The '489 patent claims, inter alia, a compound of the formula recited in claim 1 of

the '489 patent.

              IBRANCE® is covered by one or more claims of the '489 patent, including claim

1-7 and 9 of the '489 patent, and the '489 patent has been listed in connection with IBRANCE®

in the FDA's Orange Book.

              In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '489 patent.

              In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,

Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '489 patent. On information and belief, Mylan

submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '489 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

              Mylan's ANDA Product and the use of Mylan's ANDA Product are covered by at

least claims 1-7 and 9 of the '489 patent.

              In Mylan's Notice Letter, Mylan did not contest the infringement of claim 1-7 and

9 of the '489 patent on any basis other than the alleged invalidity of those claims.

               Mylan's submission of Mylan's ANDA for the purpose of obtaining approval to


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engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Mylan's

ANDA Product before the expiration of the '489 patent was an act of infringement of the '489

patent under 35 U.S.C. § 271(e)(2)(A).

              On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately

and imminently upon approval of its ANDA.

              The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would infringe one or more claims of the '489 patent, including, inter alia, claims 1-7

and 9 of the '489 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would infringe one or more claims of the '489 patent, including, inter alia, claims 1-7 and 9 of

the '489 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '489 patent when Mylan's ANDA is approved, and plans and intends to, and

will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '489 patent and specific intent to infringe that patent.

              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '489 patent, that

Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On


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information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'489 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '489 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan's ANDA prior to the

expiration of the '489 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of

the '489 patent; active inducement of infringement of the '489 patent; and contribution to the

infringement by others of the '489 patent.

              On information and belief, Mylan has acted with full knowledge of the '489 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'489 patent; active inducement of infringement of the '489 patent; and/or contribution to the

infringement by others of the '489 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '489

patent.

              Unless Mylan is enjoined from infringing the '489 patent, actively inducing

infringement of the '489 patent, and contributing to the infringement by others of the '489 patent,

Pfizer will suffer irreparable injury. Pfizer has no adequate remedy at law.

                         COUNT IV - DECLARATORY JUDGMENT
                         OF INFRINGEMENT OF THE '489 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-77 as if fully set forth

herein.

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              The Court may declare the rights and legal relations of the parties pursuant to

28 U.S.C. §§ 2201 and 2202 because there is a case of actual controversy between Pfizer on the

one hand and Mylan on the other regarding Mylan's infringement, active inducement of

infringement, and contribution to the infringement by others of the '489 patent, and/or validity of

the '489 patent.

              The '489 patent claims, inter alia, a compound of the formula recited in claim 1 of

the '489 patent.

              In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '489 patent.

              In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,

Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '489 patent. On information and belief, Mylan

submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '489 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

               Mylan's ANDA Product and the use of Mylan's ANDA Product are covered by at

least claims 1-7 and 9 of the '489 patent.

              In Mylan's Notice Letter, Mylan did not contest the infringement of claim 1-7 and


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9 of the '489 patent on any basis other than the alleged invalidity of those claims.

              Mylan's submission of Mylan's ANDA for the purpose of obtaining approval to

engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Mylan's

ANDA Product before the expiration of the '489 patent was an act of infringement of the '489

patent under 35 U.S.C. § 271(e)(2)(A).

              On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately

and imminently upon approval of its ANDA.

              The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would infringe one or more claims of the '489 patent, including, inter alia, claims 1-7

and 9 of the '489 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would infringe one or more claims of the '489 patent, including, inter alia, claims 1-7 and 9 of

the '489 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '489 patent when Mylan's ANDA is approved, and plans and intends to, and

will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '489 patent and specific intent to infringe that patent.

              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '489 patent, that


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Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On

information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'489 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '489 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan's ANDA prior to the

expiration of the '489 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of

the '489 patent; active inducement of infringement of the '489 patent; and contribution to the

infringement by others of the '489 patent.

              On information and belief, Mylan has acted with full knowledge of the '489 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'489 patent; active inducement of infringement of the '489 patent; and/or contribution to the

infringement by others of the '489 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '489

patent.

              The Court should declare that the commercial manufacture, use, sale, offer for sale

or importation of Mylan's ANDA Product with its proposed labeling, or any other Mylan drug

product that is covered by or whose use is covered by the '489 patent, will infringe, induce the

infringement of, and contribute to the infringement by others of the '489 patent, and that the


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claims of the '489 patent are not invalid.

                   COUNT V - INFRINGEMENT OF THE '168 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-95 as if fully set forth

herein.

              The inventors named on the '168 patent are Mark Barvian, Richard J. Booth, John

Quin, III, Joseph T. Repine, Derek J. Sheehan, Peter L. Toogood, Scott N. Vanderwel, and

Hairong Zhou.

              The '168 patent, entitled "2-(pyridin-2-ylamino)-pyrido [2,3-d]pyrimidin-7-ones"

(attached as Exhibit C), was duly and legally issued on November 25, 2008.

              Pfizer is the owner and assignee of the '168 patent.

              The '168 patent claims, inter alia, "[a] method of treating breast cancer in a

mammal comprising administering to said mammal an amount of a compound of" the formula

recited in claim 1 of the '168 patent.

              IBRANCE®, as well as methods of using IBRANCE®, are covered by one or more

claims of the '168 patent, including claim 1 of the '168 patent, and the '168 patent has been listed

in connection with IBRANCE® in the FDA's Orange Book.

              In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '168 patent.

              In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,


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Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '168 patent. On information and belief, Mylan

submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '168 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

              The use of Mylan's ANDA Product is covered by claims 1-4 of the '168 patent.

              Mylan's submission of Mylan's ANDA for the purpose of obtaining approval to

engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Mylan's

ANDA Product before the expiration of the '168 patent was an act of infringement of the '168

patent under 35 U.S.C. § 271(e)(2)(A).

              On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately

and imminently upon approval of its ANDA.

              The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would directly and/or indirectly infringe claims 1-4 of the '168 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would directly and/or indirectly infringe claims 1-4 of the '168 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '168 patent when Mylan's ANDA is approved, and plans and intends to, and


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will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '168 patent and specific intent to infringe that patent.

              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '168 patent, that

Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On

information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'168 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '168 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan's ANDA prior to the

expiration of the '168 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of

the '168 patent; active inducement of infringement of the '168 patent; and contribution to the

infringement by others of the '168 patent.

              On information and belief, Mylan has acted with full knowledge of the '168 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'168 patent; active inducement of infringement of the '168 patent; and/or contribution to the

infringement by others of the '168 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '168

patent.


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              Unless Mylan is enjoined from infringing the '168 patent, actively inducing

infringement of the '168 patent, and contributing to the infringement by others of the '168 patent,

Pfizer will suffer irreparable injury. Pfizer has no adequate remedy at law.

                        COUNT VI- DECLARATORY JUDGMENT
                        OF INFRINGEMENT OF THE '168 PATENT

              Pfizer incorporates each of the preceding paragraphs 1-115 as if fully set forth

herein.

              The Court may declare the rights and legal relations of the parties pursuant to

28 U.S.C. §§ 2201 and 2202 because there is a case of actual controversy between Pfizer on the

one hand and Mylan on the other regarding Mylan's infringement, active inducement of

infringement, and contribution to the infringement by others of the '168 patent, and/or the validity

of the '168 patent.

              The '168 patent claims, inter alia, "[a] method of treating breast cancer in a

mammal comprising administering to said mammal an amount of a compound of' the formula

recited in claim 1 of the '168 patent.

              In Mylan's Notice Letter, Mylan notified Pfizer of the submission of Mylan's

ANDA to the FDA. The purpose of this submission was to obtain approval under the FDCA to

engage in the commercial manufacture, use, offer for sale, sale and/or importation of Mylan's

ANDA Product prior to the expiration of the '168 patent.

              In Mylan's Notice Letter, Mylan also notified Pfizer that, as part of its ANDA,

Mylan had filed certifications of the type described in Section 505(j)(2)(B)(iv) of the FDCA, 21

U.S.C. § 355 (j)(2)(B)(iv), with respect to the '168 patent. On information and belief, Mylan

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submitted its ANDA to the FDA containing certifications pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) asserting that the '168 patent is invalid, unenforceable, and/or will not be

infringed by the manufacture, use, offer for sale, sale, and/or importation of Mylan's ANDA

Product.

              The use of Mylan's ANDA Product is covered by claims 1-4 of the '168 patent.

               Mylan's submission of Mylan's ANDA for the purpose of obtaining approval to

engage in the commercial manufacture, use, offer for sale, sale, and/or importation of Mylan's

ANDA Product before the expiration of the '168 patent was an act of infringement of the '168

patent under 35 U.S.C. § 271(e)(2)(A).

              On information and belief, Mylan will engage in the manufacture, use, offer for

sale, sale, marketing, distribution, and/or importation of Mylan's ANDA Product immediately

and imminently upon approval of its ANDA.

              The manufacture, use, sale, offer for sale, or importation of Mylan's ANDA

Product would directly and/or indirectly infringe claims 1-4 of the '168 patent.

              On information and belief, the manufacture, use, sale, offer for sale, or importation

of Mylan's ANDA Product in accordance with, and as directed by, its proposed product labeling

would directly and/or indirectly infringe claims 1-4 of the '168 patent.

              On information and belief, Mylan plans and intends to, and will, actively induce

infringement of the '168 patent when Mylan's ANDA is approved, and plans and intends to, and

will, do so immediately and imminently upon approval. Mylan's activities will be done with

knowledge of the '168 patent and specific intent to infringe that patent.


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              On information and belief, Mylan knows that Mylan's ANDA Product and its

proposed labeling are especially made or adapted for use in infringing the '168 patent, that

Mylan's ANDA Product is not a staple article or commodity of commerce, and that Mylan's

ANDA Product and its proposed labeling are not suitable for substantial non-infringing use. On

information and belief, Mylan plans and intends to, and will, contribute to infringement of the

'168 patent immediately and imminently upon approval of Mylan's ANDA.

              Notwithstanding Mylan's knowledge of the claims of the '168 patent, Mylan has

continued to assert its intent to manufacture, offer for sale, sell, distribute, and/or import Mylan's

ANDA Product with its product labeling following FDA approval of Mylan' s ANDA prior to the

expiration of the '168 patent.

              The foregoing actions by Mylan constitute and/or will constitute infringement of

the '168 patent; active inducement of infringement of the '168 patent; and contribution to the

infringement by others of the '168 patent.

              On information and belief, Mylan has acted with full knowledge of the '168 patent

and without a reasonable basis for believing that it would not be liable for infringement of the

'168 patent; active inducement of infringement of the '168 patent; and/or contribution to the

infringement by others of the '168 patent.

              Pfizer will be substantially and irreparably damaged by infringement of the '168

patent.

              The Court should declare that the commercial manufacture, use, sale, offer for sale

or importation of Mylan's ANDA Product with its proposed labeling, or any other Mylan drug


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product that is covered by or whose use is covered by the '168 patent, will infringe, induce the

infringement of, and contribute to the infringement by others of the '168 patent, and that the

claims of the '168 patent are not invalid.

                                     PRAYER FOR RELIEF

       WHEREFORE, Pfizer requests the following relief:

                        A judgment that each of the patents-in-suit has been infringed under

 35 U.S.C. § 271(e)(2) by Mylan's submission to the FDA of Mylan's ANDA;

                        A judgment ordering that the effective date of any FDA approval of

 commercial manufacture, use, or sale of Mylan's ANDA Product, or any other drug product that

 infringes or the use of which infringes one or more of the patents-in-suit, be not earlier than the

 latest of the expiration dates of said patents, inclusive of any extension(s) and additional

 period(s) of exclusivity;

                        A preliminary and permanent injunction enjoining Mylan, and all persons

 acting in concert with Mylan, from the commercial manufacture, use, sale, offer for sale, or

 importation into the United States of Mylan's ANDA Product, or any other drug product covered

 by or whose use is covered by one or more of the patents-in-suit, prior to the expiration of said

 patents, inclusive of any extension(s) and additional period(s) of exclusivity;

                        A judgment declaring that the commercial manufacture, use, sale, offer

 for sale or importation of Mylan's ANDA Product, or any other drug product which is covered

 by or whose use is covered by one-or-more of the patents-in-suit, prior to the expiration of said

 patents, will infringe, induce the infringement of, and contribute to the infringement by others

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     of, said patents;

                            A declaration that this is an exceptional case and an award of attorneys'

      fees pursuant to 35 U.S.C. § 285;

                            Costs and expenses in this action; and

                            Such further and other relief as this Court may deem just and proper.




Dated: April 29, 2019                           SCHRADER COMPANION DUFF & LAW, PLLC


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